                          UNITED STATES DISTRICT COURT FOR THE
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

JOHNNY M. HUNT,                                        )
                                                       )
                 Plaintiff,                            )
                                                       )      No. 3:23-cv-00243
v.                                                     )
                                                       )      JUDGE CAMPBELL
SOUTHERN BAPTIST CONVENTION;                           )      MAGISTRATE JUDGE FRENSLEY
GUIDEPOST SOLUTIONS LLC; and                           )
EXECUTIVE COMMITTEE OF THE                             )      JURY DEMAND
SOUTHERN BAPTIST CONVENTION,                           )
                                                       )
                 Defendants.                           )


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                      MOTION TO REPLACE DOCUMENT
______________________________________________________________________________

          Plaintiff, Johnny M. Hunt, by and through the undersigned counsel, respectfully submits

this Motion to Replace Doc. Nos. 248-32 (“Exhibit 79”) and 248-34 (“Exhibit 85”) on the docket

with the attached exhibits, which are identical in all respects.

          Before submitting Exhibits 79 and 85 to the Court, Plaintiff flattened the Exhibits to ensure

proper filing on the Court’s CM/ECF system. During this process, the Exhibits were inadvertently

altered, which resulted in cut-off versions filed on the Court’s docket. Plaintiff has re-flattened the

Exhibits, making them visible in their entirety.

          Plaintiff respectfully requests that the Court accept these corrected versions of Exhibits 79

and 85.




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Dated: August 5, 2024                  Respectfully submitted,


                                       s/ Andrew Goldstein
                                       Todd G. Cole, Esq., BPR # 031078
                                       Andrew Goldstein, Esq., BPR # 037042
                                       COLE LAW GROUP, P.C.
                                       1648 Westgate Circle, Suite 301
                                       Brentwood, TN 37027
                                       Telephone: (615) 490-6020
                                       Fax: (615) 942-5914
                                       tcole@colelawgrouppc.com
                                       agoldstein@colelawgrouppc.com


                                       -and-


                                       Robert D. MacGill, Esq. (pro hac vice)
                                       Patrick J. Sanders, Esq. (pro hac vice)
                                       MACGILL PC
                                       156 E. Market St.
                                       Suite 1200
                                       Indianapolis, IN 46204
                                       Telephone: (317) 721-1253
                                       robert.macgill@macgilllaw.com
                                       patrick.sanders@macgilllaw.com


                                       Attorneys for Plaintiff




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                               CERTIFICATE OF SERVICE

     I hereby certify that I caused a true and correct copy of the foregoing Motion to Replace
Document to be electronically filed with the Clerk of the Court on August 5, 2024, using the
CM/ECF system, which will automatically serve all counsel of record listed below:

 Todd G. Cole, Esq.                             Scarlett Singleton Nokes, Esq.
 Andrew Goldstein, Esq.                         R. Brandon Bundren, Esq.
 COLE LAW GROUP, P.C.                           E. Todd Presnell, Esq.
 1648 Westgate Circle, Suite 301                BRADLEY ARANT BOULT CUMMINGS
 Brentwood, TN 37027                            LLP
 Telephone: (615) 326-9059                      1600 Division Street, Suite 700
 tcole@colelawgrouppc.com                       Nashville, Tennessee 37203
 agoldstein@colelawgrouppc.com                  Telephone: (615) 244-2582
                                                snokes@bradley.com
 Robert D. MacGill, Esq.                        bbundren@bradley.com
 Patrick J. Sanders, Esq.                       tpresnell@bradley.com
 MACGILL PC
 156 E. Market St.                              Gene R. Besen, Esq.
 Suite 1200                                     BRADLEY ARANT BOULT CUMMINGS
 Indianapolis, IN 46204                         LLP
 Telephone: (317) 721-1253                      Fountain Place
 robert.macgill@macgilllaw.com                  1445 Ross Avenue, Suite 3600
 scott.murray@macgilllaw.com                    Dallas, Texas 75202
 patrick.sanders@macgilllaw.com                 Telephone: (214) 257-9758
                                                gbesen@bradley.com
 Counsel for Plaintiff
                                                Thomas J. Hurney, Jr., Esq.
John R. Jacobson, Esq.                          Gretchen M. Callas, Esq.
Katharine R. Klein, Esq.                        JACKSON KELLY PLLC
RILEY & JACOBSON, PLC                           500 Lee Street East, Suite 1600
1906 West End Avenue                            Post Office Box 553
Nashville, TN 37203                             Charleston, West Virginia 25322
(615) 320-3700                                  Telephone: 304-340-1000
(615) 320-3737 Facsimile                        thurney@jacksonkelly.com
jjacobson@rjfirm.com                            gcallas@jacksonkelly.com
kklein@rjfirm.com
                                                Counsel for the Executive Committee of the
                                                Southern Baptist Convention




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Steven G. Mintz, Esq.                   L. Gino Marchetti, Jr., Esq.
Terence W. McCormick, Esq.              Matt C. Pietsch, Esq.
Scott Klein, Esq.                       TAYLOR, PIGUE, MARCHETTI & BLAIR,
Adam Brody, Esq.                        PLLC
Alex Otchy, Esq.                        2908 Poston Avenue
MINTZ & GOLD LLP                        Nashville, TN 37203
600 Third Avenue                        Telephone: (615) 320-3225
25th Floor                              gmarchetti@tpmblaw.com
New York, NY 10016                      matt@tpmblaw.com
Telephone: (212) 696-4848
mintz@mintzandgold.com                  Counsel for the Southern Baptist Convention
mccormick@mintzandgold.com
klein@mintzandgold.com                  Melissa J. Hogan, Esq.
brody@mintzandgold.com                  QAVAH LAW
otchy@mintzandgold.com                  8757 Horton Hwy
                                        College Grove, TN 37046
Counsel for Defendant                   Telephone: (615) 293-6623
Guidepost Solutions LLC                 melissajhogan@qavahlaw.com

                                        Counsel for Jane Doe



                                          s/ Andrew Goldstein
                                          Andrew Goldstein




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